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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the
Southern District of West Virginia

 

 

 

 

 

United States of America )
v- ) an Ni Distr .
Michael Justin Bailey ) Case No. ; [__— Souta Disc oh
Sarah K. Bailey 1:18-mj-00022
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of November 5, 2018 in the county of Mercer in the
Southern District of West Virginia , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. 1951 Interference with commerce by threats or violence. (Hobbs Act Robbery)

This criminal complaint is based on these facts:

a Continued on the attached sheet. Lf DD
Ad Uw”

Complainant’s sighature

y-~ Lauren Viup, Special Agent, ATF

Printed name and title

 

Sworn to before me and signed in my presence.

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Wah [4 pe-——~

 

 

 

/ \ Uudge’s signature |
City and state: Huntington, WV / cheryl A Eifert, United States, Magistrate Judge
( \ Printed name and title
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AFFIDAVIT

STATE OF WEST VIRGINIA

COUNTY OF RALEIGH, to-wit:

I, Special Agent Lauren Viup, ATF, being first duly sworn, do

hereby depose and state as follows:

1.

I am currently employed as a Special Agent with the
Bureau of Alcohol, Tobacco, Firearms, and Explosives (ATF)
and have been so employed since January of 2016. I am
assigned to ATF’s Charleston field office and my duties
include investigating firearms, fire, and explosives cases,
as well as cases involving the use of firearms during and in
relation to crimes of violence and drug trafficking offenses.

The information in this Affidavit is based on my personal
knowledge, information provided to me by other law
enforcement officers, and other persons. As a result, I am
familiar with the facts and circumstances of this
investigation. Based on the information I have gathered
throughout the investigation, I have determined the
following:

On or about November 5, 2017, at or near Bluefield,
Mercer County, West Virginia, within the Southern District of
West Virginia, Michael Justin Bailey and Sarah K. Bailey

robbed Rosie's II, a video gambling business in Bluefield,
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and thereby unlawfully obstructed, delayed, and affected
interstate commerce.

Through my investigation, it was determined that various
customers of the video gambling business traveled from
Virginia to engage in activities at Rosie’s II, thereby
affecting interstate commerce.

In committing the robbery, defendants brandished
firearms, and unlawfully took approximately $4,960 from
Rosie's II and personal items from patrons and an employee of
Rosie's II, by threatening to use force and violence.
Defendants threatened the employee and several patrons
visiting Rosie’s II with the firearms. Defendants also
restrained the employee by binding her hands and feet with
duct tape.

The robbery was recorded on surveillance video. I
reviewed the video and observed defendants brandishing the
firearms while inside Rosie’s II. Staff members of Rosie’s
If were able to identify defendants through the video
surveillance.

Based on my training and experience, and the information
stated above, the undersigned asserts there is probable cause
to believe that defendants Michael Justin Bailey and Sarah kK.

Bailey violated 18 U.S.C. § 1951 as set forth above by

 
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robbing an employee and patrons of Rosie’s II, a business
affecting interstate commerce.

Further your affiant sayeth naught.

Ase Vary

S/A Lauren Viup, ATF
{
Sworn to before me, and subscribed in\ .my presence, this 10th
day of April, 2018.

 

CHERYL | A. EIFER !
United States Magistrate judge

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